
PAUL KELLY, JR., Circuit Judge.
Plaintiff-Appellant, the United Keetoo-wah Band of Cherokee Indians of Oklahoma (“UKB”), is challenging a final agency action by the United States Department of Housing and Urban Development (“HUD”) whieh drastically reduced the federal funding that the UKB received for housing under the Native American Housing Assistance and Self-Determination Act of 1996 (NAHASDA), 25 U.S.C. §§ 4101-4243. The basis of the UKB’s claim, in essence, is that HUD’s decision was arbitrary and capricious (1) as a substantive matter because HUD’s regulations implementing NAHASDA were contrary to the clear language of that statute, and (2) as a procedural matter because of various alleged defects in the process leading up to HUD’s final agency action. The district court rejected the UKB’s challenge, finding that HUD’s regulations survived scrutiny under Chevron deference and concluding that the procedure employed by HUD was not arbitrary or capricious. United Keetoowah Band of Cherokee Indians of Okla. v. U.S. Dept of Hous. and Urban Dev., No. CIV-06-53&amp;-RAW, slip. op. at 5-10 (E.D. Okla. Jan 9, 2008). The UKB now appeals the district court’s order. Our jurisdiction arises under 28 U.S.C. § 1291, and we reverse.

Background

A. Funding Scheme under NAHASDA
This case involves HUD’s implementation of NAHASDA, a federal statute enacted to provide funding to Native American tribes in order to “help[ ] tribes and their members ... improve their housing conditions and socioeconomic status.” 25 U.S.C. § 4101(5).1 Adopted in 1996, NA-*1237HASDA established a housing-assistance program that was funded directly through Indian Housing Block Grants (“IHBG”), id. § 4111, and disbursed to tribes on the basis of Indian Housing Plans prepared by the tribes and submitted to HUD, id. § 4112. All federally-recognized and state-recognized Indian tribes are eligible for IHBG funding. 24 C.F.R. § 1000.202; see 25 U.S.C. § 4103(12). The amount of IHBG funding each eligible tribe receives is determined in accordance with the allocation formula established by HUD pursuant to a negotiated rulemaking procedure and contained in the implementing regulations. 25 U.S.C. §§ 4116(b), 4151, 4152(a). While Congress delegated to HUD the authority to create the allocation formula, Congress also circumscribed HUD’s discretion by specifically stating that the formula must be “based on factors that reflect the need of the Indian tribes and the Indian areas of the tribes for assistance for affordable housing activities.” Id. § 4152(b).
The formula HUD created has two components: (1) Formula Current Assisted Housing Stock (“FCAS”), and (2) Need. 24 C.F.R. § 1000.310. Generally, the amount of annual funding for an Indian tribe is the sum of the FCAS component and the Need component. The Need component, the only component at issue here, is based on seven criteria set forth in the regulations—criteria such as the number of tribal households with income below a median income level and the number of households without kitchens and plumbing.2 Id. § 1000.324. None of the criteria references court jurisdiction over a geographic area. In addition to these seven criteria, HUD has also created a “Formula Area” requirement. While the regulations do not say so explicitly, HUD apparently only applies the seven § 1000.324 criteria to Indian households within an applicant tribe’s Formula Area. Therefore, applicant tribes must show that they possess a Formula Area in order to receive need-based funding under § 1000.324. At the time, the regulations defined “Formula Area” as
the geographic area over which an Indian tribe could exercise court jurisdiction or is providing substantial housing services and, where applicable, the Indian tribe ... has agreed to provide housing services pursuant to a Memorandum of Agreement with the governing entity or entities (including Indian tribes) of the area, including but not limited to: ...
(vi) Former Indian Reservation Areas in Oklahoma as defined by the Census as Tribal Jurisdictional Statistical Area.
24 C.F.R. § 1000.302.3 However, even though the Formula Area requirement acts as a threshold for need-based funding under § 1000.324, tribes that do not possess a designated Formula Area are still entitled to a minimum funding amount under § 1000.328. Id. § 1000.328. See generally Fort Peck Hous. Auth. v. U.S. Dep't of Hous. and Urban Dev., 435 F.Supp.2d *12381125, 1127-29 (D.Colo.2006) (describing NAHASDA’s funding mechanism),
B. Agency Decision to Award Minimum Funding to the UKB
It is undisputed that the UKB received IHBG funding above the minimum amount for the fiscal years 1997-2005. United Keetoowah Band, No. CIV-06-533-RAW, slip. op. at 2. For each of these fiscal years, HUD determined that the UKB shared a Formula Area with the Cherokee Nation of Oklahoma (“CNO”) in the CNO’s “Tribal Jurisdictional Statistical Area/Oklahoma Tribal Statistical Area.” However, this determination was called into question on June 14, 2004, when the CNO wrote a letter to HUD challenging the UKB’s right to receive IHBG funding. In the letter, the CNO claimed jurisdiction over the Tribal Jurisdictional Statistical Area to the exclusion of the UKB. Accordingly, HUD interpreted the substance of the challenge to be that the UKB should not receive more than the minimum funding allocation because the tribe could not claim a Formula Area as defined in 24 C.F.R. § 1000.302. After reviewing the matter, HUD issued a memorandum on January 19, 2005, in which the agency concluded that the UKB had “no jurisdiction or regulatory basis” for being assigned a Formula Area because only the CNO could assert jurisdiction over the Oklahoma Tribal Statistical Area and the UKB had no Memorandum of Agreement with the CNO. HUD stated that the formula correction, which rendered the UKB ineligible “for funding under the Need component of the IHBG formula,” would become effective for fiscal year 2006.
On February 11, 2005, the UKB requested that HUD reconsider its determination that the UKB had no jurisdiction over, and therefore could not be assigned a share of the Oklahoma Tribal Statistical Area. After further inquiry into the matter, HUD reversed itself on April 26, 2005, finding that the UKB did in fact “meet the regulatory basis under the IHBG program for being assigned a share of the Cherokee Oklahoma Tribal Statistical Area” because the UKB could, in HUD’s estimation, “exercise court jurisdiction” over the area. Accordingly, on the basis of the UKB’s ability to claim the Oklahoma Tribal Statistical Area as its Formula Area, HUD granted the UKB $545,989 in funding for the fiscal year 2006. HUD also informed the CNO, on October 18, 2005, that it had the “right to appeal this decision” to assign the UKB a share of the Oklahoma Tribal Statistical Area.
This prompted an administrative appeal by the CNO on November 16, 2005. The appeal contained a detailed legal argument designed to show' that the CNO possessed exclusive jurisdiction over the Oklahoma Tribal Statistical Area. This argument was based in part on our decision in United Keetoowah Band of Cherokee Indians v. Mankiller, in which we reaffirmed that “the Cherokee Nation is the only tribal entity with jurisdictional authority in Indian Country within the Cherokee Nation.” 4 No. 93-5064, 1993 WL 307937, *4 (10th Cir. Aug.12, 1993) (unpublished). In response, HUD reversed itself again on February 7, 2006, concluding that the “the UKB could not exercise court jurisdiction over land in the Cherokee former reservation area.” The UKB, predictably, then challenged this new decision in a letter dated March 27, 2006. HUD denied this request for reconsideration on November 3, 2006, in a letter described as a “final *1239agency action.” HUD based the denial on its conclusion that the UKB
failed to show that it possesses a Formula Area, as that term is defined pursuant to 24 C.F.R. § 1000.802, because it has neither a geographic area over which it could exercise court jurisdiction nor an area in which it provides substantial housing services pursuant to a Memorandum of Agreement with the governing entity, the [CNO].
Accordingly, HUD awarded the UKB only the minimum funding allocation under 24 C.F.R. § 1000.328.
The UKB then sought judicial review in federal district court under the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 701-706. The UKB argued that Chevron deference should not apply to 24 C.F.R. § 1000.302 and asserted several bases to show that HUD had acted arbitrarily and capriciously. United Keetoowah Band, No. CTV-06-533-RAW, slip, op. at 5. However, the district court applied Chevron deference and found that HUD had not acted arbitrarily and capriciously. Id. at 5-10. The UKB now appeals this decision. The main issue before us is whether NAHASDA is clear and unambiguous such that we should not grant Chevron deference to the implementing regulations.

Discussion

When reviewing a final agency action, an appellate court “take[s] an independent review of the agency’s action and [is] not bound by the district court’s factual findings or legal conclusions.” Utah Envtl. Cong. v. Russell, 518 F.3d 817, 823 (10th Cir.2008) (internal quotation marks omitted); see N.M. Cattle Growers Ass’n v. U.S. Fish &amp; Wildlife Serv., 248 F.3d 1277, 1281 (10th Cir.2001). Here, given that the challenge is brought under the APA, we will set aside the final agency action if it is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A); see Utah Envtl. Cong., 518 F.3d at 823. Generally, we will find an agency’s action to be arbitrary and capricious if the agency “entirely failed to consider an important aspect of the problem, offered an explanation for its decision that runs counter to the evidence before the agency, or is so implausible that it could not be ascribed to a difference in view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43, 103 S.Ct. 2856, 77 L.Ed.2d 443 (1983); see Qwest Commc’ns Int’l, Inc. v. FCC, 398 F.3d 1222, 1229 (10th Cir.2005).
Our standard of review under the arbitrary and capricious rubric is narrow, and we may not substitute our own judgment for that of the agency. Mainstream Mktg. Servs., Inc. v. FTC, 358 F.3d 1228, 1248 (10th Cir.2004). However, as we have previously recognized, the narrow nature of our review under the arbitrary and capricious standard does not mean that the review is insubstantial; to the contrary, we are required “to engage in a substantial inquiry” and to conduct a “thorough, probing, in-depth review.” Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 415, 91 S.Ct. 814, 28 L.Ed.2d 136 (1971), overruled on other grounds by Califano v. Sanders, 430 U.S. 99, 97 S.Ct. 980, 51 L.Ed.2d 192 (1977); see Qwest Commc’ns Int’l, 398 F.3d at 1229.
I. Chevron Deference
The central issue presented by this appeal is the extent of deference that we owe to the agency’s interpretation of NA-HASDA, as embodied in HUD’s implementing regulations. In determining how much deference is owed, we first seek to determine “whether Congress has directly spoken to the precise question at issue,” Chevron U.S.A., Inc. v. Natural Res. Def. *1240Council, 467 U.S. 887, 842, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984), by looking to, among other things, the statutory text, history, and purpose, Gen. Dynamics Land Sys., Inc. v. Cline, 540 U.S. 581, 600, 124 S.Ct. 1236, 157 L.Ed.2d 1094 (2004). If Congress has spoken directly to the issue, that is the end of the matter; the court, as well as the agency, must give effect to Congress’s unambiguously expressed intent. Chevron, 467 U.S. at 842-43, 104 S.Ct. 2778. If the statute is silent or ambiguous, we proceed to step two and ask “whether the agency’s answer is based on a permissible construction of the statute.” Id. at 843, 104 S.Ct. 2778. While we must not impose our own construction of the statute under this inquiry, we will not defer to an agency’s construction if it is “arbitrary, capricious, or manifestly contrary to the statute.” Id. at 843-44, 104 S.Ct. 2778; see Ctr. for Legal Advocacy v. Hammons, 323 F.3d 1262, 1267 (10th Cir.2003). See generally Hackworth v. Progressive Cas. Ins. Co., 468 F.3d 722, 727 (10th Cir.2006); Nutraceutical Corp. v. Von Eschenbach, 459 F.3d 1033, 1037-38 (10th Cir.2006); Qwest Commc'ns Int’l, 398 F.3d at 1229-30.
In this case, the “precise question at issue” is whether Congress unambiguously manifested its intent that HUD base its allocation formula solely on need-based criteria and, if so, whether the Formula Area requirement in HUD’s implementing regulations comports with this unambiguous requirement. The UKB arpies that the Formula Area requirement of 24 C.F.R. § 1000.302—and, more specifically, the fact that possession of a Formula Area requires an Indian tribe to (1) exercise court jurisdiction, or (2) provide substantial housing services and, where applicable, possess a Memorandum of Agreement with the governing entity5—is contrary to Conpess’s plainly expressed intent because NAHASDA unambiguously states that the amount of IHBG funding must be based on need. The UKB contends that possessing a Formula Area does not reflect a tribe’s need for housing assistance because its need-based funding was “zeroed out” in 2006 not because of any drop in needy households, but merely because HUD concluded that the UKB had no Formula Area. According to this argument, then, the imposition of the Formula *1241Area requirement (a non-need-based factor) is inconsistent with unambiguous language in the statute and therefore should not receive Chevron deference.
As in all cases where we must construe a statute, our primary task is to “determine congressional intent, using traditional tools of statutory construction.” NLRB v. United Food &amp; Commercial Workers Union, 484 U.S. 112, 123, 108 S.Ct. 413, 98 L.Ed.2d 429 (1987) (internal quotation marks omitted). As we always do in “cases requiring statutory construction, we begin with the plain language of the law.” St. Charles Inv. Co. v. Comm’r of Internal Revenue, 232 F.3d 773, 776 (10th Cir.2000) (internal quotation marks omitted). We must assume that the ordinary meaning of the words Congress uses conveys its intent. Id.; see Harbert v. Healthcare Servs. Group, Inc., 391 F.3d 1140, 1148 (10th Cir.2004). Furthermore, “[w]here the language of the statute is plain, it is improper for this Court to consult legislative history in determining congressional intent.” St. Charles Inv. Co., 232 F.3d at 776. Therefore, we turn first to the precise language of the statute and, finding that language to be unambiguous, our inquiry will end there. See United States v. Zamudio, 314 F.3d 517, 521 (10th Cir.2002) (“If the statutory language is clear, our analysis ordinarily ends.” (internal quotation marks omitted)).
A. The Unambiguous “Need” Requirement of Section k!52(b)
Section 4152(b) states that “[t]he formula shall be based on factors that reflect the need of the Indian tribes and the Indian areas of the tribes for assistance for affordable housing activities.”6 25 U.S.C. § 4152(b) (emphasis added). This language explicitly and unambiguously mandates that the factors in HUD’s allocation formula reflect—in other words, have some connection or nexus with—the need of Indian tribes and Indian areas of the tribes. The language does not permit of any other reading.7 Moreover, though HUD argues to the contrary, there is no other language in the statute creating ambiguity such that we would have to apply deference under Chevron’s step two.
*1242First, HUD contends that the language in the statute regarding “Indian areas” permits HUD to introduce a geographic component to the allocation formula. Aplee. Br. 18. NAHASDA does state that the formula must be based on the need of the Indian tribes “and the Indian areas of the tribes.” 25 U.S.C. § 4152(b). This language, at first blush, suggests that Congress might have contemplated a requirement that a tribe exercise court jurisdiction over a geographic area. However, NAHASDA’s definition of “Indian area” makes it clear that Congress did not open the door for a requirement of court jurisdiction when it used the term “Indian area.” NAHASDA’s definitional section states that “[t]he term ‘Indian area’ means the area within which an Indian tribe . .. provides assistance under this Act for affordable housing.” Id. § 4103(10). According to this definition, all that the use of the term “Indian area” in § 4152(b) indicates is that HUD must take into consideration the need of the area in which the applicant Indian tribe provides housing assistance—it does not indicate that HUD may exclude an Indian tribe from receiving funding under 24 C.F.R. § 1000.324 simply because the tribe does not exercise court jurisdiction over that area.
Second, HUD claims that NAHASDA is ambiguous in that Congress enumerated several factors that HUD could consider in creating the allocation formula and included a catch-all factor arguably broad enough to permit the jurisdictional requirement of 24 C.F.R. § 1000.302. NA-HASDA does list as one factor such “[o]th~ er objectively measurable conditions as the Secretary and the Indian tribes may specify,” 25 U.S.C. $ 4152(b)(3). However, the existence of this catch-all factor does not create ambiguity in the statute, because even the “other objectively measurable conditions” must be related to need. When interpreting the meaning of this statutory language, we “must examine the ... language in context, not in isolation.” United States v. Nichols, 184 F,3d 1169, 1171 (10th Cir.1999) (internal quotation marks omitted). Section 4152(b) states that the formula must be based on “factors that reflect the need of the Indian tribes and the Indian areas of the tribes for assistance for affordable housing activities, including” three specific factors. 25 U.S.C. § 4152(b). Included in the list of three factors is the “other objectively measurable conditions” factor. See id. § 4152(b)(3). Thus, it is clear from looking at the structure and language of § 4152(b) in its entirety that Congress did not allow for non-need-based considerations when it included subsection (b)(3). Rather, subsection (b)(3) is simply one of the need-based factors that Congress explicitly specified; to the extent it functions as a catch-all factor, it is a catch-all for ■need-based considerations only.
Finally, HUD argues that the fact Congress delegated to HUD the authority to create an allocation formula means that we should defer to HUD’s construction of that formula. While it is true that Congress delegated significant authority to HUD, 25 U.S.C. § 4152(a) (“The Secretary shall ... establish a formula to provide for allocating amounts available for a fiscal year for block grants .... ”), that does not grant HUD license to ignore the parameters set forth by Congress. The same section that delegates authority to HUD expressly states that when HUD establishes an allocation formula, it must do so “in accordance with the requirements of this section.” Id. As we have seen, one of those requirements is that “[tjhe formula shall be based on factors that reflect the need” of the tribes. Id. § 4152(b). Accordingly, while HUD may create a funding formula and may exercise significant discretion in doing so, the factors it adopts must reflect the need of applicant tribes. Because the regulations do not meet this standard (for *1243the reasons discussed below), they violate the “intelligible principle” Congress set forth to guide HUD. Our system of administrative law is premised on the rule that when “Congress confers decisionmaking authority upon agencies Congress must ‘lay down by legislative act an intelligible principle to which the person or body authorized to [act] is directed to conform.’ ” Whitman v. Am. Trucking Assoc., 531 U.S. 457, 473, 121 S.Ct. 903, 149 L.Ed.2d 1 (2001) (quoting J.W. Hampton, Jr., &amp; Co. v. United States, 276 U.S. 394, 409, 48 S.Ct. 848, 72 L.Ed. 624 (1928)) (emphasis omitted). We would stand this rule—and our system of administrative law—on its head if we were to simply accept the delegation itself as the license for HUD to establish a non-need-based factor, contrary to the guidelines established by Congress.
The dissent makes much of the fact that “jurisdiction” is referenced in 25 U.S.C. § 4112(c), the section setting forth statutory requirements for Indian Housing Plans.8 Dissent at 2-4. However, we are not convinced that the reference renders § 4152 ambiguous. First, and most importantly, the reference to jurisdiction in its generic sense does nothing to suggest that HUD was free to impose a requirement of court jurisdiction. The dissent assumes that the terms “jurisdiction” and “court jurisdiction” are automatically coterminous, but they are not necessarily so in this context. See, e.g., Narragansett Indian Tribe of Rhode Island v. Narragansett Elec. Co., 89 F.3d 908, 910-11, 915-22 (1st Cir.1996) (holding that an Indian housing project was not “Indian country” and that the tribe did not have exclusive court jurisdiction over it even though it was overseen by an Indian housing authority that exercised some degree of control— or “jurisdiction”—over the project). In fact, HUD’s own regulations make it clear that they are not synonymous, given that the regulations state that “[wjhenever the term ‘jurisdiction’ is used in NAHASDA it shall mean ‘Indian Area’ except where specific reference is made to the jurisdiction of the court.” 24 C.F.R. § 1000.10. In turn, the regulations demonstrate that “Indian area” does not have a court jurisdiction aspect, as “Indian area” simply “means the area within which an Indian tribe operates affordable housing programs.” Id. Here, it is the term “court jurisdiction” that the UKB objects to, given that it is the term used in the challenged regulation. 24 C.F.R. § 1000.302. Accordingly, the use of the term “jurisdiction” has no particular relevance to the inquiry as to whether NAHASDA unambiguously prohibits a court jurisdiction requirement.
Furthermore—even indulging the unwarranted assumption that the two terms are synonymous—rather than suggesting that § 4152 is ambiguous, the inclusion of the “jurisdiction” language in § 4112(c) demonstrates that Congress explicitly excluded court jurisdiction from the need-based formula under § 4152.9 Because Congress demonstrated its awareness of a *1244jurisdictional element in one section of the statute, it is clear that it could have allowed for court jurisdiction in another section of the statute if it had wished to do so. But it did not. Accordingly, the reference to jurisdiction in § 4112(c) does nothing to undermine our conclusion that § 4152 unambiguously excludes non-need-based factors such as court jurisdiction.
B. The Formula Area Requirement Conflicts with NAHASDA’s Flam Language
Having concluded that the language is unambiguous, we must next determine whether HUD’s regulations conform to the clearly expressed intent of Congress. The seven criteria set forth in 24 C.F.R. § 1000.324 plainly reflect the need of Indian tribes and Indian areas. However, HUD has interposed § 1000.302 as a “precursor” or threshold requirement; if the tribe cannot show that it could exercise court jurisdiction, then it cannot claim a Formula Area or, it follows, qualify for a need-based funding allocation under the criteria of § 1000.324. As we have already suggested, we can find no discernible nexus between the requirement that the Indian tribes exercise court jurisdiction over some geographic area and the “need” of the tribes, as that term is ordinarily construed.
The requisite connection to need does not come from the alleged difficulty of considering the needs of an Indian tribe if the tribe does not exercise court jurisdiction over a geographic area. The existence of such a difficulty is belied by the fact that the regulations already permit tribes to get funding solely because they provide substantial housing services, regardless of whether they exercise court jurisdiction. In order to see this, we must engage in a hypothetical. Assume that, while the applicant tribe (which we shall call Tribe A) can claim no court jurisdiction of its own, it provides substantial housing services in an area that falls outside the court jurisdiction of the nearest tribe (Tribe B). In that situation, under the existing regulations, Tribe A could get federal funding without having to show court jurisdiction at all. The regulations only require court jurisdiction or provision of substantial housing services and, where applicable, a Memorandum of Agreement with the governing tribe. 24 C.F.R. § 1000.302. If, as in our hypothetical, Tribe A’s housing is located outside the court jurisdiction of Tribe B and that of any other nearby tribe (relieving it of the need to secure a Memorandum of Agreement), it could secure IHBG funding 'merely by showing that it provided substantial housing sendees. Court jurisdiction would be irrelevant. Therefore, because the regulations themselves allow for a situation where an Indian tribe can secure funding without exercising court jurisdiction or having a Memorandum of Agreement with a tribe that does have court jurisdiction, we cannot conclude that court jurisdiction has any real connection with the determination of “need.”10
*1245The dissent dismisses this rationale, and argues that the court jurisdiction requirement “supplies a necessary geographic boundary for NAHASDA funding.” Dissent at 6. Again, however, the dissent assumes that “jurisdiction” is necessarily synonymous with “court jurisdiction.” Because these two terms are not synonymous, it is not far-fetched to think, as the dissent seems to say, that the Indian tribe could provide housing assistance outside its own court jurisdiction but within its purview such that it could be claimed in the Indian Housing Plan submitted to HUD. For instance, a tribe might construct low-income housing on land that it owns but that does not qualify as Indian country. See Narragansett Indian Tribe, 89 F.3d at 910-11 (stating that the Narragansett Indian Tribe was constructing a housing complex on land that did not qualify as Indian country). In that situation, the housing would be within the tribe’s “Indian area” and could be claimed even though it was not within its court jurisdiction. Again, this demonstrates the absence of a nexus between court jurisdiction and need.11
The absence of such a connection means that HUD’s imposition of the § 1000.302 Formula Area court jurisdiction requirement as a threshold for need-based funding over the minimum allocation is contrary to Congress’s plainly expressed intent because it leads to funding allocations based on factors that do not reflect tribal housing needs. This conclusion finds no better illustration than the case at hand: the UKB’s need for housing assistance did not abate when HUD concluded that the UKB lacked the ability to claim court jurisdiction.
In sum, because NAHASDA is clear that the funding formula must be based exclusively on factors reflecting tribal need for housing assistance, Chevron deference does not apply to 24 C.F.R. § 1000.302—at least insofar as its court jurisdiction requirement functions as a threshold that must be met before need-based funding can be secured under § 1000.324. See Chevron, 467 U.S. at 842-43, 104 S.Ct. 2778 (“If the intent of Congress is clear, that is the end of the matter; for the court, as well as the agency, must give effect to the unambiguously expressed intent of Congress.”). “[T]he principle that accords substantial weight to interpretation of a statute by the department entrusted with its administration is inapplicable insofar as those regulations are inconsistent with the [statute].” Townsend v. Swank, 404 U.S. 282, 286, 92 S.Ct. 502, 30 L.Ed.2d 448 (1971). This is so because the “judiciary is the final authority on issues of statutory construction and must reject administrative constructions which are contrary to clear congressional intent.” Chevron, 467 U.S. at 843 n. 9, 104 S.Ct. 2778. Accordingly, because the use of § 1000.302 as a threshold requirement conflicts with the plain language of 25 U.S.C. § 4152(b), we must conclude that it is invalid under the APA and that *1246its application in the final agency action before us renders that action fatally flawed.12 5 U.S.C. § 706(2)(A) (stating that courts are to set aside agency actions that are “not in accordance with law”). The fact that the regulatory scheme was developed through a negotiated rulemak-ing procedure is of no relevance to this determination.
11. Procedural Issues
The UKB also contends that HUD acted arbitrarily and capriciously in its handling of the CNO’s challenge to HUD’s decision to allocate funds to the UKB. We have previously stated that “[w]e will ... set aside an agency action if the agency has failed to follow required procedures.” Citizens’ Comm. to Save Our Canyons v. Krueger, 513 F.3d 1169, 1176 (10th Cir.2008); see Olenhouse v. Commodity Credit Corp., 42 F.3d 1560, 1574 (10th Cir.1994). The UKB argues that HUD failed to follow its own procedures by entertaining the CNO’s challenge because it had established no procedures for hearing legal challenges by third party tribes. The UKB also argues that even if HUD could hear the challenge in the first instance, it could not then permit an appeal by the CNO in the absence of a regulation granting a right to appeal.
We also have grave concerns with the fact that the CNO was permitted to appeal when there was no regulation granting it the right to do so. The regulations only permitted third-party Indian tribes to raise challenges to “data contained in the U.S. Decennial Census” and bring appeals related to those challenges—and this certainly was not a challenge to census data. See 24 C.F.R. § 1000.336.13 However, having resolved the statutory interpretation issue in favor of the UKB, and having determined that the use of 24 C.F.R. § 1000.302 as a threshold requirement is invalid, we need not resolve the procedural issues.
Accordingly, we REVERSE and REMAND for further proceedings consistent with this opinion. The motion to supplement the record on appeal and the supplemental motion to supplement the record on appeal are DENIED. 08-7025, United Keetoowah Band of Cherokee Indians of Ohio. v. U.S. Dep’t of Hous. &amp; Urban Dev.

. Throughout this opinion, all citations to statutes are to those in effect at the time. NAHASDA was amended in 2008 by the Native American Housing Assistance and Self-Determination Reauthor'i/ation Act of 2008, Pub.L. No. 110-411, 122 Stat. 4319 (2008).


. The criteria, each weighted differently, include (1) American Indian and Alaskan Native (AIAN) households with housing cost burden greater than 50% of "formula area income,” (2) AIAN households that are overcrowded or without kitchen or plumbing, (3) AIAN housing shortage, (4) AIAN households with income less than or equal to 30% of "formula median income,” (5) AIAN households with income between 30% and 50% of "formula median income,” (6) AIAN households with income between 50% and 80% of “formula median income," and (7) AIAN persons. 24 C.F.R. § 1000.324.


. 24 C.F.R. § 1000.302 has since been amended. However, it retains the court jurisdiction requirement and appears to perform the same function as it did at the time this dispute arose. The parties have not suggested that the amendment substantively altered the regulation, at least insofar as our inquiry is concerned.


. We have also adjudicated another case involving the UKB’s jurisdiction in Buzzard v. Oklahoma Tax Commit, 992 F.2d 1073, 1077 (10th Cir.1993) (holding that the UKB could not claim land held in fee simple as "Indian country" where the federal government had not set apart the land for the UKB's use).


. This opinion focuses on the court jurisdiction requirement because the parties do not dispute that the UKB must have a Memorandum of Agreement with the CNO if it is to claim a Formula Area under the second part of the definition. We assume without deciding that such is the case, and note that the UKB has been unable to secure such a Memorandum of Agreement.
However, it is worth observing that the record does not establish that the housing the UKB subsidizes is in Indian country. While court jurisdiction is complex, as a general matter, Indian tribes exercise court jurisdiction over Indian country—reservations, dependent Indian communities, and Indian allotments. 18 U.S.C. § 1151; see California v. Cabazon Band of Mission Indians, 480 U.S. 202, 208 n. 5, 107 S.Ct. 1083, 94 L.Ed.2d 244 (1987) (stating that § 1151 applies to questions of civil jurisdiction). See generally Cohen's Handbook of Federal Indian Law §§ 3.04[2][c], 4.07[lJ[b] (5th ed.2005). It seems, then, that if the housing lies outside of Indian country, the UKB would not need a Memorandum of Agreement with the CNO because the CNO would not be the “governing entity,” 24 C.F.R. § 1000.302; see Kansas v. United States, 249 F.3d 1213, 1228 (10th Cir.2001) (stating that a sovereign must have jurisdiction over land in order to “exercise governmental power over it”). The dissent cites Kansas for the proposition, apparently, that the Indian tribe must have court jurisdiction before it provides any housing assistance. Dissent at 1250. However, a tribe does not have to have court jurisdiction in order to provide such assistance. See Narragansett Indian Tribe of Rhode Island v. Narragansett Elec. Co., 89 F.3d 908, 910-11, 915-22 (1st Cir.1996) (involving a situation where an Indian tribe provided housing assistance on land that did not qualify as “Indian country”).


. At the time, § 4152 provided in relevant part-
ía) Establishment
The Secretary shall, by regulations .... establish a formula to provide for allocating amounts available for a fiscal year for block grants under this chapter among Indian tribes in accordance with the requirements of this section.
(b) Factors for determination of need The formula shall be based on factors that reflect the need of the Indian tribes and the Indian areas of the tribes for assistance for affordable housing activities, including the following factors:
(Í) The number of low-income housing dwelling units owned or operated at the time pursuant to a contract between an Indian housing authority for the tribe and the Secretary.
(2) The extent of poverty and economic distress and the number of Indian families within Indian areas of the tribe. (3) Other objectively measurable conditions as the Secretary and the Indian tribes may specify.
25 U.S.C. § 4152. While § 4152 has since been amended, it retains the operative language we analyze here.


. HUD argues that NAHASDA is ambiguous because it "neither prohibií[s¡ HUD from considering a tribe’s Formula Area . . . nor requires] such consideration.” Aplee. Br. 9. HUD contends that this "silence with respect specifically to formula area” means that Congress’s intent is unclear. Id. This misconstrues the inquiry, because NAHASDA does explicitly limit the kinds of factors that HUD may employ in its formula: the factors must be based on need. Given that HUD fails to make any showing that the Formula Area court jurisdiction requirement complies with this limitation, it follows that NAHASDA actually does expressly prohibit HUD from considering court jurisdiction.


. While the dissent claims that we “ignore" the important canon of statutory construction that we are to consider the statute as a whole. Dissent at 1246-47, we do not do so. Rather, viewing the statute as a whole, Sierra Club v. El Paso Gold Mines, Inc., 421 F.3d 1133, 1143 (10th Cir.2005), we see nothing that calls into question the facially unambiguous language of 25 U.S.C. § 4152(c), including the language in § 4112, “The language of the statute must be the primary source of any interpretation and, when that language is not ambiguous, it is conclusive 'absent a clearly expressed legislative intent to the contrary.’ ” Miller v. C.I.R., 836 F.2d 1274, 1283 (10th Cir.1988). Here, after "[ljooking at the entire statute, we fail to find a clearly expressed legislative intent that the words in the statute do not mean what they say." Id.


. The dissent argues that there is no formula under § 4152 because Congress delegated to HUD the responsibility to create a formula. *1244Dissent at 1248. This is mere wordplay. Of course, as this opinion acknowledges, HUD ultimately created the formula. However, it must do so “under" the guidance set forth in § 4152—guidance that explicitly requires a nexus between the factors and need. It is in that sense that there is a formula under § 4152.


. For much the same reason, we conclude that the court jurisdiction requirement is not saved by § 4152(c). Congress specified two other factors, in addition to the "need-based” factors of § 4152(b), that HUD must consider. Id. § 4152(c). However, those factors are not applicable to this case. While one of the factors refers to the “relative administrative capacities” of the recipient, we do not see how the court jurisdiction requirement relates to a tribe's administrative capacity. The regulations themselves seem to suggest that court jurisdiction is not a particularly important *1245administrative consideration, given that they allow lor Indian tribes get federal funding without any court jurisdiction in the circumstances outlined above. In any event, HUD made no real argument as to the relation between “administrative capacity” and court jurisdiction.


. Moreover, we note that adopting the dissent's position would do nothing to create a usable geographic boundary for calculating need. The dissent asserts that “at least part of an Indian tribe’s ‘Indian area' . .. must include the tribe's jurisdiction.” Dissent at 1249-50 (emphasis added). Having conceded that a tribe's "Indian area” might not be identical to its court jurisdiction, the dissent must also concede that the court jurisdiction requirement does not “identify what geographic boundaries would be used in determining where an Indian tribe can provide housing assistance” as the dissent claims it does. Dissent at 1249.


. Having found NAHASDA to be unambiguous, we need not reach the UKB’s argument that Chevron deference does not apply because of the rule of statutory construction, set forth in Montana v. Blackfeet Tribe of Indians, 471 U.S. 759, 766, 105 S.Ct. 2399, 85 L.Ed.2d 753 (1985), that federal statutes are to be construed liberally in favor of Indians.


. Notably, 24 C.F.R. § 1000.336 was amended in 2007 so that: tribes may now challenge data used in determinations regarding the Formula Area. The regulations that existed at the time only referred to census data challenges.

